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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

COMMERCIAL CREDIT GROUP, INC.,

       Plaintiff,

vs.                                                          Civ. No. 19-558 KG/JHR

PROTÉGÉ EXCAVATION, INC.,

       Defendant.

                                             ORDER

       On January 4, 2021, Plaintiff complied with the Court’s December 23, 2020, Order by

filing “Commercial Credit Group, Inc.’s Notice of Status of Equipment Location Information

from Steven Vigil and Violation of Order and Request for Hearing” (Notice of Status). See

(Docs. 64 and 66). Given the assertions in the Notice of Status, the Court set this matter for a

telephonic status conference, which it held on January 11, 2021. At the telephonic status

conference, Jeane Y. Sohn appeared on behalf of Plaintiff and Steven Vigil appeared pro se.

       Having considered the comments and argument by Ms. Sohn and Mr. Vigil at the

telephonic status conference, the Court ORDERS

       1. Ms. Sohn and Mr. Vigil will coordinate a time and place for Mr. Vigil and Plaintiff’s

agent to meet in order to physically locate the following units of equipment: 2009 Case 1150K

Standard, 2012 John Deere 350 G LC, and 2014 Kobelco ED 160-3;

       2. Mr. Vigil and Plaintiff’s agent must locate the above equipment no later than 5:00

p.m. on Wednesday, January 13, 2021;
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       3. if any of the above equipment are not located as ordered above, Plaintiff must notify

the Court in writing, no later than 5:00 p.m. on Wednesday, January 13, 2021, what progress and

efforts were made to locate the missing equipment.



                                                     _______________________________
                                                     UNITED STATES DISTRICT JUDGE




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